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 1   JAMES McMANIS (40958)
     MICHAEL REEDY (161002)
 2   TYLER ATKINSON (257997)
     NEDA SHAKOORI (283823)
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 7   Attorneys for Plaintiff, Dr. Haiping Su
 8

 9
                                  UNITED STATES DISTRICT COURT
10
                               NORTHERN DISTRICT OF CALIFORNIA
11
                                          SAN JOSE DIVISION
12

13

14                                                       No. C09-2838 EJD (JSC)

15    HAIPING SU,                                        NOTICE OF MOTION FOR FEES AND
             Plaintiff,                                  EXPENSES IN PROVING MATTERS
16                                                       THAT SHOULD HAVE BEEN
      v.                                                 ADMITTED (Fed. R. Civ. P. 37(c)(2))
17
      UNITED STATES OF AMERICA,
18                                                       Date: March 12, 2015
             Defendant.                                  Time: 9:00 a.m.
19
                                                         Ctrm: 4
20                                                       Judge: The Hon. Edward J. Davila

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23          TO DEFENDANT AND ITS ATTORNEYS OF RECORD:

24          PLEASE TAKE NOTICE that on March 12, 2015 at 9:00 a.m., or as soon thereafter as

25   the matter may be heard in Courtroom 4, 5th Floor, in the above-entitled court, located at 280 S.

26   First Street, San Jose, California, 95113, plaintiff, Haiping Su, will move the Court for an Order

27   pursuant to Rule 37(c)(2) of the Federal Rules of Civil Procedure, requiring defendants pay

28   plaintiff the sum $1,314,545.11, which represents the reasonable expenses, including
                                                     1
     NOTICE OF MOTION FOR FEES AND EXPENSES IN PROVING MATTERS THAT SHOULD HAVE BEEN ADMITTED;
     CASE NO.: No. C09-2838 EJD (JSC)
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 1   attorney’s fees, incurred in proving matters that should have been admitted by the defendants.
 2          This motion is made on the grounds that the United States of America and its agency, the
 3   National Aeronautics and Space Administration, were served with Requests for Admission
 4   requesting that the USA and NASA admit certain adverse, unfavorable and derogatory
 5   information about plaintiff was disclosed to non-federal employees and plaintiff’s supervisors,
 6   and that the statement that plaintiff accepted or received money from a foreign government was
 7   extremely private in nature. Defendants unreasonably refused to admit Requests for Admission
 8   numbers 8, 9, 10, 16, 17 and 27.
 9          Plaintiff proved these facts at trial, and pursuant to Rule 37(c)(2) of the Federal Rules of
10   Civil Procedure, and the Court’s inherent powers, plaintiff seeks the reasonable expenses,
11   including attorney’s fees, incurred in proving these facts.
12          This motion will be based on this Notice of Motion and Motion, the Memorandum of
13   Points and Authorities filed herewith, the Declaration of Tyler Atkinson, and the exhibits
14   attached thereto, including the Requests for Admission and defendants’ responses that are
15   subject of this motion, the pleadings and papers on file herein, and upon such oral argument and
16   other evidence as the Court may permit on this matter.
17

18                                                         Respectfully submitted,
19   DATED: October 9, 2014                                McMANIS FAULKNER
20
                                                              /s/ Tyler Atkinson
21                                                         TYLER ATKINSON

22                                                         Attorneys for Plaintiff,
                                                           DR. HAIPING SU
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     NOTICE OF MOTION FOR FEES AND EXPENSES IN PROVING MATTERS THAT SHOULD HAVE BEEN ADMITTED;
     CASE NO.: No. C09-2838 EJD (JSC)
